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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTICT OF PENNSYLVANIA


PFIZER, INC.                      :
                                  :   CIVIL ACTION
           Plaintiff              :
     vs.                          :
                                  :   NO. 17-CV-4180
JOHNSON & JOHNSON and             :
JANSSEN BIOTECH, INC.             :
                                  :
           Defendants             :


                               O R D E R


     AND NOW, this      21st      day of January, 2021, upon

consideration of Defendants' Motion to Withdraw the Appearance

of Julia R. Livingston as Counsel (Doc. No. 153) and it

appearing to the Court that good cause exists and that

Defendants Johnson & Johnson and Janssen Biotech, Inc. will

continue to be represented by their remaining counsel in this

matter, it is hereby ORDERED that the Motion is GRANTED and

Julia R. Livingston is given leave to withdraw her appearance as

counsel on behalf of Defendants.


                                        BY THE COURT:



                                        s/ J. Curtis Joyner

                                        _________________________
                                        J. CURTIS JOYNER,     J.
